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                                               CLAIM V

                 MISCONDUCT BY THE PROSECUTION DEPRIVED
                 PETITIONER OF HIS CONSTITUTIONAL RIGHTS TO
                 DUE PROCESS AND A FAIR TRIAL UNDER THE FIFTH,
                 SIXTH, EIGHTH , AND FOURTEENTH AMENDMENTS.

          A wide range of prosecutorial misconduct violated Mr . Raulerson' s rights under the

United States Constitution . For example, the State suppressed information favorable to the

defense at both phases of the t rial, and the materiality of the suppressed .evidence undermines

confidence in the outcome of the guilt -innocence and penalty phases of Petitioner 's trial, as well

as Petitioner's direct appeal , in violation of the United States Constitution, Brady v. Maryland ,

373 U .S. 83 (1963 ), Kyles v. Whitley, 514 U.S. 419 ( 1995), and related precedent . Moreover,

the State has a continuing obligation to disclose favorable evidence , which extends through post-

conviction proceedings , and to the extent that the State continues to withhold favorable evidence

from Petitioner , his constitutional rights have been additionally violated . See, e .   High v . Head,

209 F .3d 1257, 1265 ( 11th Cir. 2000); Thomas v. Goldsmith, 979 F .2d 746, 749-50 (9th Cir.

1992) .

          The State took adv antage of Petitioner ' s ignorance of the undisclosed favorable

information by arguing to the jury that which it knew or should have known to be false and/or

misleading. See United States v . Sanfilippo , 564 F .2d 176, 179 (5th Cir. 1977) . The State also

allowed its witnesses to convey a false impression to the jury, and there is a reasonable likelihood

that the false impression could have affected the jury . See Giglio v. United States, 405 U.S. 150

(1972) . Finally, the State knowingly or negligently presented false testimony in pretrial and trial

proceedings , and there is a reasonable likelihood that the false testimony could have affected the

judgment of the tri al court and/or the jury at both phases of the trial . See United States v . Agurs ,

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427 U .S . 97, 103-04 (1976) . Regardless of whether the State knew or should have known that it

was presenting false evidence, the mere presentation of such evidence and the jury's reliance

upon such evidence at both phases of the trial deprived Petitioner of due process . See Sanders v .

Sullivan, 863 F .2d 218 (2d Cir . 1988) . This pervasive state misconduct violated Petitioner's

rights under the Fifth, Sixth, and Fourteenth Amendments of the United States Constitution .

Because Petitioner has not obtained all of the wrongly withheld evidence, he is unable to plead

this Claim with more specificity at this time .

        In addition, the prosecution improperly used its peremptory strikes to systematically

exclude jurors on the basis of race and/or gender, in violation of the Constitution . See e.g.,

Batson v . Kentucky, 476 U .S. 79 (1986) ; J.E.B. v. Alabama ex rel . T.B., 511 U.S. 127 (1994) .'

        Petitioner's rights to due process and a fair trial were violated by improper and prejudicial

remarks by the prosecution in its opening statement to the jury, in contravention of the Fifth,

Sixth, Eighth, and Fourteenth Amendments to the United States Constitution! For example, the

prosecutor improperly argued that in addition to the charges involved in this case, Petitioner had

previously committed a burglary similar to one charged here .

        Petitioner's rights to due process and a fair trial were also violated by improper and

prejudicial remarks by the prosecution in its closing statement at the guilt-innocence phase of the

trial, violating his rights under the Fifth, Sixth, Eighth, and Fourteenth Amendments to th e



' To the extent trial counsel failed to raise and litigate this issue at trial or on appeal, counsel was
ineffective, and Petitioner was prejudiced thereby .
S To the extent that Petitioner's counsel failed to object to these comments and seek a mistrial or
other appropriate relief, or to otherwise preserve objections to the State's closing argument and
effectively present claims based on that closing argument in Petitioner's direct appeal, counsel
was ineffective, and Petitioner was prejudiced thereby . In addition, the trial court improperly
failed to correct these errors on its own motion .
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 United States Constitution . For example, the prosecutor improperly expressed his own opinions

 as to Petitioner 's guilt.'

         For these reasons, Petitioner is entitled to relief from his convictions and sentences .



                                              CLAIM VI

                 PETITIONER IS SEVERELY MENTALLY ILL AND
                 THEREFORE INELIGIBLE FOR THE DEATH PENALTY
                 UNDER THE EIGHTH AMENDMENT OF THE UNITED
                 STATES CONSTITUTION.

         Because Petitioner suffers from severe mental illness , he may not be executed under the

Eighth Amendment . As discussed above with respect to Petitioner's Ineffective Assistance of

Counsel claim , and as revealed by the evidence developed p rimarily in the state habea s

proceedings , Petitioner has suffered , since an early age, from long-term depression and emotional

disturb ances, which are the result of a brutal, violent, and traumatic childhood . As the evidence

below established, Mr. Raulerson suffers from diagnosed severe mental illnesses such as Major

Depressive Disorder , Dysthymic Disorder , and dissociation.

        The Eighth Amendment 's prohibition on cruel and unusual punishment is measured by

the "evolving st andards of decency that mark the progress of a matu ring society." Furm an v.

Georgia , 408 U.S. 238 , 242 (1972) ( Douglas, J . concurring) (quoting Trop v. Dulles, 356 U .S. 86

(1958)). Public opinion, Weems v . United States , 217 U .S. 349, 378 (1910), contemporary

human knowledge , Robinson v . California, 370 U .S. 660, 666 ( 1962), jury verdicts, McGautha v.

9 To the extent that Petitioner' s counsel failed to object to these improper comments and seek a
mistrial or other approp riate relief, or to otherwise preserve objections to the State 's closing
argument and effectively present claims based on that argument in Petitioner 's direct appeal,
counsel was ineffective, and Petitioner was prejudiced thereby. To the extent that the Court
attempted to cure the improper comments by instructing the jury, the Court' s instructions failed to
cure the error and actually exacerbated the harm by drawing the jury's attention to the improper
comments . The trial court improperly failed to correct these errors on its own motion .
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California, 402 U.S . 183, 199 (1971), and legislation, Atkins v . Virginia, 536 U .S . 304 (2002),

can all reflect those evolving standards .

        Among the states, there is a growing and wide-ranging recognition that the severely

mentally ill do not merit the death penalty, and that courts must consider a defendant's mental

illness in sentencing those suffering from severe mental illness . For example, some states have

adopted a diminished-capacity defense ;t0 some, like Georgia, have adopted the verdict of guilty

but mentally ill ;" and others provide proportionality review for capital crimes that takes mental

illness into account .12 While states have not all chosen the same approach, this does not alter th e




10 The states have adopted varying approaches to address this matter . Some have adopted diminished
capacity as a defense or partial defense . Lewine, Psychiatric Evidence in Criminal Cases for
Purposes Other than the Defense of Insanity, 26 Syracuse L. Rev. 1051, 1055 (1975); American Law
Institute, Model Penal Code Sec . 4.01 (1962); Ark . Code Ann . § 5-2-312(a), N .J. Stat . Ann.§ 2C :4-2;
N.Y. Crim. Proc . Law § 400.27, Utah Code Ann .§76-2-305(2) . Among those, many allow the
defense to be used only with regard to specific intent crimes . See e .g., State v. Jacobs, 607 N.W .2d
679 (Iowa 2000) ; People v. Mette , 621 N.W .2d 713 (Mich. Ct. App . 2000) ; State v. Page, 488
S .E.2d 225 (N .C. 1997) ; Waye v . Commonwealth, 251 S .E.2d 202 (Va . 1979) ; Wash. Rev . Code
Ann . §10.77 .010 . Other states have adopted broader definitions of insanity that include
`uncontrollable impulse ." See O .C.G.A. § 16-3-3 .
" A number of others have developed the verdict of guilty but mentally ill . See, e .g. , Alaska Stat .
12.47 .030 (1992) ; Ariz . Rev. Stat. Ann. § 13-502 ; Del. Code Ann. Tit . 11,401(b) (1987) ; Ga. Code
Ann . 17-7-131(b)(1)(D) ; Ill . Comp . Stat . Ann, ch .720, para 5/6-2(c) (Smith-Hurd 1993) ; Ind . Code
Ann . 35-35-1-1 (West 1986) ; Ky. Rev. State. Ann . 504 .130 (Baldwin 1984) ; Mich . Comp. Laws
Ann . 768 .38 (West 1982) ; Nev . Rev . Stat . Ann. § 174.041 ; N .M. Stat . Ann 31-9-3(A) (Michie 1984) ;
Pa . Stat . Ann . Tit. 18, § 314 (1983) ; S .C. Code Ann . 17-24-20 (Law Co-op Supp . 1992); S .D.
Codified Laws Ann. 23A-26-14 (1988) ; Utah Code Ann . 77-13-1 (1990) .
12 Still other states have fashioned unique accommodations for the criminally responsible but
mentally ill through legislation and case law . See, e .g., Idaho Code § 19-2523 ; Mass. Gen . Laws
Ann. Ch . 279, § 69 ; Minn. Stat. Ann . § 611 .026 ; Miss . Code Ann . § 99-13-9 ; Mont . Code Ann. §
46-14-101 ; People v . Williams, 941 P .2d 752 (Cal . 1997) ; State v. Borman, 956 P .2d 1325 (Kan .
1998); State v. Galloway, 628 A.2d 735 (N.J. 1993) . For example, in at least five additional states
- Arizona, Florida, Mississippi, Ohio and Nevada - proportionality review has served to remove
many mentally ill offenders from the ranks of the condemned despite the apparent availability of
capital punishment in such cases . See e .g., State v. Jimenez , 799 P .2d 785, 797-801 (Ariz . 1990)
(reducing death sentence to life imprisonment based on defendant's mental incapacity) .
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fact that the efforts themselves document an evolving standard of decency of refusing to treat

those disabled by mental illness with the same severity as those who are not .

        Advances in science, coupled with the standards of decency that prevail at this point in

our Nation's history, dictate that it is no longer permissible under the "cruel and unusual

punishment" clause of the United States Constitution to execute severely mentally ill persons like

Mr . Raulerson . The practice violates evolving standards of decency, and is cruel and inhumane.

Accordingly, Mr. Raulerson's death sentence is invalid, and must be reversed.




                                            CLAIM VII

               PETITIONER WAS DENIED ACCESS TO COMPETENT
               MENTAL HEALTH ASSISTANCE, IN VIOLATION OF HIS
               FIFTH, SIXTH, EIGHTH AND FOURTEENTH
               AMENDMENT RIGHTS UNDER THE UNITED STATES
               CONSTITUTION .

        A criminal defendant is entitled to competent expert psychiatric assist ance when the state

makes his or her ment al state relevant to guilt-innocence or sentencing . See Ake v . Oklahoma ,

470 U . S. 68 (1985 ) . Mr. Raulerson 's mental condition was relevant in m any ways to the guilt-

innocence and sentencing phases of his t rial, including: (a) whether he possessed the specific

intent to commit malice murder; (b) whether he possessed an abandoned or malignant heart to

commit malice murder; (c) whether he was able to rationally communicate with his atto rney and

make rational choices about his representation ; (d) whether he was able to appreciate the

wrongfulness of his conduct and conform his conduct to the dictates of the law ; (e) whether he

was able to knowingly and rationally waive the right to counsel p rior to making a statement ;




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(f) whether myriad mitigating factors were shown ; and (g) whether myriad aggravating factors

were shown .

        Although federal law entitled Mr . Raulerson to professionally competent and independent

mental health assistance on these i ssues, he did not receive such assistance . Indeed , the mental

health experts retained by trial counsel did not perform a competent mental health evaluation,

an d were not able to obtain the relevant records and other assistance needed to make such a

competent evaluation, in large part because trial counsel failed to provide them with such

information and assistance. Had such information and assistance been provided to the experts,

and had the experts thus been able to provide satisfacto ry assistance an d present the results of

their investigations to the jury, there is a reasonable probability that the outcome of both phase of

Petitioner' s trial would have been different. Mr. Raulerson is therefore entitled to a new t rial and

sentencing proceeding, at which proper assist ance is rendered .

        The state habeas court erroneously concluded that Mr. Raulerson had "no constitutional

right to the effective assistance of a mental health expert ." 3/24/04 Order at 4 . But the Due

Process Clause requires adequate mental health assistance for a criminal defend ant as a manner

of fundamental fairness , in order to assure reliability in the truth -determining process . See Ake ,

470 U.S. at 79-86 . As the Court explained in Ake , the provision of competent, independent and

informed psychiat ric expe rtise to a defendant assures the defendant "a fair oppo rtunity to present

his defense," id . at 76 and also "enable[s] the jury to make its most accurate determination of the

truth on the issue before them," id. at 81 . Where, as here, t rial counsel failed to ensure that th e




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defense expe rts were adequately informed and were performing competently , Petitioner wa s

unconstitutionally deprived of a basic tool of his defense.13




                                              CLAIM VIII

                 THE TRIAL COURT CONDUCTED PETITIONER 'S TRIAL
                 IN A MANNER THAT VIOLATED PETITIONER'S
                 RIGHTS UNDER THE FIFTH , SIXTH AND FOURTEENTH
                 AMENDMENTS TO THE UNITED STATES
                 CONSTITUTION.

        The trial court conducted Pe ti tioner's trial in a manner that violated his rights under the

Fifth, Sixth and Fourteenth Amendments to the United States Constitution, and the cou rts below

failed to remedy these violations . These violations of Petitioner's constitutional rights include,

but are not limited to , the following :

         • The trial court allowed the introduc tion of illegally obtained confessions and

        evidence despite proper motions to suppress;

        • The trial court refused to strike prospective jurors who demonstrated bias against

        the defense ;

        • The trial court unfairly restricted Petitioner's right to voir dire prospective jurors ;

        • The tri al court improperly denied Petitioner' s meritorious motions for a mistrial

        including, but not limited to a motion for a mistrial made by Petitioner after the trial was

        interrupted due to a bomb threat, see T. Tr. Vol. 10, at 3-4 ;

        • The trial court admi tted improper evidence despite proper objections ;

        • The trial court refused to allow admissible evidence presented by Petitioner ; and

 13 To the extent tri al counsel failed adequately to raise an d/or litigate these issues at trial or on
appeal, counsel rendered ineffective assistance of counsel and Petitioner was actually prejudiced
thereby .
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        0 The trial court gave improper and unconstitutional jury instructions during the

        guilt-innocence and sentencing phase of the case , and refused to give proper instructions

        requested by Petitioner .

        These errors compromised , among other things, Petitioner 's rights under the Sixth and

Fourteenth Amendments to the United States Constitution, which entitle a criminal defendant to

an impartial jury, and not merely to jurors who swear to be indifferent . See, e .g. , Irvin v . Dowd ,

366 U .S. 717, 728 (1961) . Moreover, the Constitution requires that a juror appear to be, as well

as be, unbiased . See, e.g., Aldridge v . United States , 283 U .S. 308, 314-15 (1931) . When the

life or death of a criminal defendant is at stake, absolute neutrality on the pa rt of the jurors is

especially critical . SeSe ee.g. , Gardner v. Florida, 430 U .S . 349, 358 (1977) . Thus, a juror who

has made up his mind prior to t rial that he will not weigh evidence in mitigation is not impa rtial .

Such views on capital punishment "would `prevent or substantially impair the performance of his

duties as a juror in accordance with his instructions and his oath."' Wainwright v . Witt, 469 U .S.

412, 424 (1985) . Because the trial court permitted jurors unfairly biased in favor of the death

penalty to serve on Mr. Raulerson ' s jury, and due to the other errors desc ribed above, Mr .

Raulerson ' s convictions and death sentence violate the Constitution 's dem ands.



                                              CLAIM IX

                JUROR MISCONDUCT VIOLATED PETITIONER'S
                RIGHTS UNDER THE FIFTH , SIXTH , EIGHTH AND
                FOURTEENTH AMENDMENTS TO THE UNITED STATE S
                CONSTITUTION .

       Misconduct on the part of the jurors during trial included, but was not limited to,

discussing the case after being admonished not to discuss it , improper consideration of matters


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extraneous to the trial, improper racial attitudes which infected the deliberations of the jury, false

or misleading responses of jurors on voir dire, improper biases of jurors which infected their

deliberations, improper exposure to the prejudicial opinions of third parties, improper

communications with third parties, improper communication with jury bailiffs, improper ex parte

communications with the trial judge, and improperly prejudging the guilt-innocence and penalty

phases of Petitioner's trial .

        These numerous instances of juror misconduct deprived Mr . Raulerson of a fair trial, in

violation of his Constitutional rights . See ems, Spencer v . Georg 500 U .S . 960 (1991)

(Kennedy, J ., concurring in denial of certiorari) (racial epithets used injury room) ; McCleskey v .

Kemp . 481 U.S. 279 (1987) (racial animus of decision makers) ; Jones v . Kemp , 706 F . Supp .

1534 (N .D . Ga. 1989) (jury consideration of extraneous religious information); Turner v.

Louisiana, 379 U .S . 466 (1965) (improper communications with bailiffs) ; Rushen v. Spain , 464

U.S . 114 (1983) (improper communications with trial judge) ; United States v . Sco tt, 854 F .2d

697, 700 (5th Cir . 1988) (failure to respond truthfully on voir dire) ."




14 To the extent that Petitioner' s counsel failed to protect Petitioner's rights in this regard,
counsel's performance was unreasonably deficient, and Petitioner was prejudiced by the
deficiencies of his counsel . To the extent that the trial court was implicated in or aware of any o f
the jury misconduct, and yet failed to advise Petitioner or correct the misconduct, the court's
actions constitute an independent violation of Petitioner's rights . To the extent that the State,
through any of its entities, was implicated in or aware of any of the jury misconduct, the State's
action (or failure to act) also deprived Petitioner of his constitutional rights . Finally, to the extent
that Petitioner's counsel failed to argue, develop, or present these issues, failed to adequately
preserve objections thereto, or failed to effectively litigate these issues on direct appeal,
Petitioner's counsel rendered ineffective assistance , and Petitioner was prejudiced thereby .
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                                               CLAIM X

                PETITIONER WAS DENIED DUE PROCESS OF LAW
                BECAUSE THE SAME JURY THAT CONVICTED HIM
                WAS RESPONSIBLE FOR DETERMINING TH E
                APPROPRIATE SENTENCE, IN VIOLATION OF THE
                FIFTH, SIXTH, EIGHTH, AND FOURTEENTH
                AMENDMENTS TO THE UNITED STATES
                CONSTITUTION .

        The trial court should have bifurcated the guilt-innocence proceedings from the

sentencing proceedings at Mr. Raulerson's trial by empaneling two different panels of jurors -

one panel to hear evidence on the issues of guilt or innocence, and the other panel to make a

determination of sentence in the event of defendant's conviction . The trial court's failure to do

so violated Petitioner's constitutional rights and resulted in a fundamentally unfair trial .

        In death penalty cases, all jurors are "death qualified" in a process that excludes both

those who are unable to impose a death sentence and those who would automatically impose

death. See generally Witherspoon v . Illinois, 391 U.S. 510 (1968) ; O.C.G.A. § 15-12-164 (a)(4)

(requiring that jurors be asked whether they are opposed to capital punishments) . During this

process, the jurors who will first decide the issue of the defendant's guilt or innocence are asked

to consider whether or not they would be able to inflict a particular punishment ; questioning

takes place by the trial court, as well as by the attorneys for each side .

        This death qualification process thus predisposes jurors to convict a defendant, as the

presumption of innocence is entirely subordinated to the punishment-focused death-qualification

questions . By querying jurors on their opinions about punishment before they have had a trial t o


15 Incidentally, this question does not elicit other points of view on the death penalty that could
interfere with their ability to be fair and impartial, see       Pope v . State , 345 S .E.2d 831 (Ga.
1986), nor does it elicit a juror's ability to set aside any personal views and decide the case on the
evidence, see Gray v . Mississippi, 481 U.S. 648 (1987) ; Davis v. Georgia, 429 U.S. 122 (1976) .
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 determine guilt or innocence, the jurors are essentially told to assume that the defendant is guilty .

 This process violated Mr . Raulerson's right to a "`fair trial by a panel of impartial, "indifferent"

jurors "' and thus "` violate[d] even the minimal standards of due process ."' Morgan v. Illinois ,

 504 U.S . 719, 727 (1992) (quoting Irvin v . Dowd , 366 U .S . 717, 721-22 (1961)) .

        In addition, Petitioner's due process rights were violated when the members of the jury

who had rejected Petitioner's guilt-phase defense, had convicted him, and had necessarily

developed a bi as against the credibility of the Petitioner and Petitioner 's counsel , were then

expected to sit as fair and impartial decision-makers on the sensitive issue of whether to impos e

the death penalty. For similar reasons, the trial court's failure to bifurcate violated Petitioner's

Eighth Amendment right to be free from "cruel and unusual punishment ," see e. g., Grigsby v.

Mabry, 758 F.2d 226 (8th Cir. 1985), reversed on other grounds sub nom, Lockhart v . McCree,

476 U . S. 162 (1986 ). Because a separate penalty phase jury was not empaneled , Petitioner was

denied due process of law, in violation of the Fifth, Sixth, Eighth, and Fourteenth Amendments

to the United States Constitution . "




16
  To the extent that counsel failed to raise or litigate this issue effectively during t rial, counsel's
deficient performan ce was unreasonable and Petitioner was prejudiced thereby. But for counsel's
individual an d/or cumulative unprofession al errors at all ph ases of his capital proceeding there is
a reasonable probability that the result of the proceedings would have been different . To the
extent that counsel failed to raise and litigate these issues effectively on appeal , counsel rendered
constitutionally ineffective assistance of counsel and Petitioner was prejudiced thereby .
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                                             CLAIM X I

                THE GUILT-INNOCENCE PHASE JURY INSTRUCTIONS
                VIOLATED PETITIONER' S RIGHTS UNDER THE FIFTH,
                SIXTH, EIGHTH AND FOURTEENTH AMENDMENTS TO
                THE UNITED STATES CONSTITUTION .

        The trial court's jury instructions during the guilt-innocence phase of Petitioner's trial

violated Petitioner's rights under the Fifth, Sixth, Eighth and Fourteenth Amendments to the

United States Constitution . The jury instructions contained many prejudicial legal errors,

including but not limited to : improperly charging the jury on the "beyond a reasonable doubt"

burden of proof, thus permitting the jury to convict Petitioner upon less than "utmost certainty"

of guilt ; improperly requiring Petitioner to bear the burden on proving his mental retardation

beyond a reasonable doubt ; improperly charging on impeachment of witnesses ; improperly

charged, vague, and essentially standardless definitions of statutory terms ; and improperly

charging the jury on the offenses charged in the indictment ."




                                            CLAIM XII

               THE DEATH PENALTY IN GEORGIA IS IMPOSED
               ARBITRARILY AND CAPRICIOUSLY AND AMOUNTS TO
               CRUEL AND UNUSUAL PUNISHMENT , VIOLATING
               PETITIONER'S RIGHTS UNDER THE FIFTH , SIXTH,
               EIGHTH AND FOURTEENTH AMENDMENTS TO THE
               UNITED STATES CONSTITUTION .

       Petitioner's sentence of death was imposed arbitrarily and capriciously, and pursuant to a

pattern and practice of discrimination in the administration and imposition of the death penalty i n


17 To the extent that Petitioner's counsel failed adequately to preserve objections to the trial
court's charge or effectively litigate these issues on appeal, Petitioner's counsel rendered
ineffective assistance . Had counsel performed reasonably, there is a reasonable probability that
the outcome of the guilt-innocence phase of trial would have been different .
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Georgia, thereby rendering Petitioner's sentence of death unlawful and in violation of

Petitioner's rights under the Fifth, Sixth, Eighth, and Fourteenth Amendments to the United

States Constitution . The grounds for this claim include, but are not limited to, the following :

       • Georgia's statutory death penalty procedures, as applied, do not result in fair,

       nondiscriminatory imposition of the death sentence, and therefore violate the Eighth

       Amendment to the United States Constitution and the corresponding provisions of the

       Georgia Constitution ;

       • The death penalty is imposed arbitrarily, capriciously, and discriminatorily in the

       State of Georgia, and was so imposed in Petitioner's case ;

       • Georgia cases similar to that of Petitioner with regard to both the nature and

       circumstances of the offense, prior record, culpability and life and character of the

       accused, have resulted in lesser punishments than death ;

       • Georgia cases involving greater aggravating circumstances than Petitioner's case

       with regard to both the nature and circumstances of the offense, prior record, culpability,

       and life and character of the accused, have resulted in lesser punishments than death ;

       • There is no constitutionally permissible way to distinguish the few cases in which

       the death penalty has been imposed, and Petitioner's case in particular, from the many

       similar cases in which a lesser punishment has been imposed ;

       • In both the United States and the State of Georgia, the death penalty has been and

      continues to be imposed discriminatorily against African-Americans, males, and poor

      persons, and Petitioner's sentence of death was imposed because he is a poor male ;




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         • There exists in Georgia a patte rn and practice of prosecuting authorities , courts,

        and juries to disc riminate on the basis of race, gender, and poverty in deciding whether to

        seek or impose the death penalty in cases similar to that of Petitioner, thereby making the

        imposition of the sentence of death against Petitioner a violation of his rights under the

        Fifth, Sixth, Eighth , and Fourteenth Amendments to the United States Constitution."




                                              CLAIM XIII

                GEORGIA' S UNIFIED APPEAL PROCEDURE VIOLATED
                PETITIONER'S RIGHTS UNDER THE FIFTH , SIXTH,
                EIGHTH AND FOURTEENTH AMENDMENTS TO THE
                UNITED STATES CONSTITUTION .

        On its face and as applied to Petitioner ' s case, Georgia 's Unified Appeal Procedure

("UAP"), O .C.G.A. § 17-10-36, denied Petitioner 's rights as guaranteed by the Fifth, Sixth,

Eighth and Fou rteenth Amendments to the United States Constitution. The UAP requires the

trial court to hold " conferences " with the defend ant, defense counsel and the prosecutor at

various stages throughout the course of a capital case . At each conference , the trial court makes

inquiries of trial counsel as to whether the defense will raise various issues at that particular stage

of the proceeding, and further inquires of the defend ant as to whether he waived issues which

have been discussed and not raised . The prosecutor is present at each conference . This

procedure violates defendants ' constitutional rights , including those of Mr . Raulerson .

        The UAP violates due process by upsetting the balance of power between the state and

the accused in the adversa rial system, as the UAP forces a defendant to disclose his strategy and

tactics throughout the trial proceedings . The net effect of this process is to permit the state to

18 To the extent tri al counsel failed to raise and/or adequately litigate this claim at t rial or on
appeal, counsel was ineffective , and Petitioner was prejudiced thereby.
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learn, at various junctures of the case, the intentions of the defense without itself having to

disclose any information. The UAP also violates a defendant 's right to silence . When

represented by counsel , a criminal defendant enjoys the right to be heard through counsel . Under

the UAP, this right is not honored , as repeated inqui ries are made of the defend ant - as they

were of Mr. Raulerson about strategy and satisfaction with counsel . The UAP also denies a

capital defendant his right to equal protection , as, for no rational reason, the UAP imposes the

costs and burdens desc ribed here upon a capital defendant , but not other criminal defendants .

        In addition, the UAP violates the ri ght to counsel in at least three respects . First , the

process of regularly asking counsel what issues will be raised , which occurred several times

during Petitioner ' s trial, necessarily results in a disclosure of counsel ' s trial strategy in violation

of the work product p rivilege. Second, the UAP requires the defendant at each conference to

inform the court whether he or she is satisfied with the services of counsel . This procedure

imposes an impossible inquiry upon a lay defendant under the strain of trial , particularly because

it fails to provide the defend ant with independent counsel to assist in making this judgment .

Third , the UAP thrusts the court directly into the atto rney- client relationship, requi ring counsel to

advise the defend ant of issues which have little, if any, relevance to the case, thereby diverting

time better spent on investigating and preparing an adequate defense .

        Because of the many costs imposed upon the capital defendant by the UAP, the reliability

of the trial and sentencing hearing is diminished to the detriment of the right to be t ried in a

fundamentally fair proceeding . Because Petitioner was tried, convicted, and sentenced pursu ant

to this procedure, he was denied minimal fairn ess and the reliability essential in capital c ases.19

19 To the extent that Petitioner 's counsel failed to argue, develop , or present these issues, failed to
adequately preserve objections thereto, or failed to effectively litigate these issues on direct
appeal, Petitioner 's counsel rendered ineffective assistance , which actually prejudiced Petitioner .
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                                              CLAIM XIV

                PETITIONER'S TRIAL CONTAINED PROCEDURAL AND
                SUBSTANTIVE ERRORS, WHICH CANNOT BE
                HARMLESS WHEN VIEWED AS A WHOLE SINCE THE
                COMBINATION OF ERRORS DEPRIVED HIM OF THE
                FUNDAMENTALLY FAIR TRIAL GUARANTEED UNDER
                THE FIFTH, SIXTH, EIGHTH, AND FOURTEENTH
                AMENDMENTS .

        In Mathews v . Eldridge , 424 U .S . 319, (1976) the United States Supreme Court

articulated the well-known three-factor test for assessing whether government procedures satisfy

the federal constitutional guarantee of due process . As the Court was careful to explain, "`due

process is flexible and calls for such procedural protections as the particular situation demands . "'

Id. at 334-35 (quoting Morrissey v . Brewer, 408 U .S . 471, 481 (1972)) (emphasis added) .

Mathews itself was a case concerning the fundamental question of when formal hearings on

disputed issues are required, and the Supreme Court's analysis in that case is thus highly

enlightening and instructive in the present context . Mathews teaches that it is simply not enough

for the Government to provide "a process" to dispose of disputed matters . Rather, the process

must be fair to all parties and must be flexible enough to accommodate the particular litigation

involved . A capital defendant has a "constitutional right to a fair trial regardless of . . . [the

crime] ." Heath v . Jones , 941 F .2d 1126, 1131 (1 lth Cir . 1991) .

       Mr. Raulerson did not receive the fundamentally fair trial that due process requires .

Indeed, it is Petitioner's contention that the process itself has failed him - the sheer number and

types of errors involved in his trial, when considered as a whole, virtually dictated the death

sentence that he received . The systemic and case-specific flaws that are responsible for Mr .

Raulerson's convictions and sentence are numerous, and have been pointed out throughout no t


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only in this Petition for Writ of Habeas Corpus, but also in Petitioner's direct state habeas

proceedings, his direct appeal, and his Motion for New Trial . Although each individual error

entitles Mr . Raulerson to relief in this Court, the fact is that addressing these errors on an

individual basis will not afford adequate safeguards against an improper conviction and

improperly imposed death sentence - safeguards which are required by the Constitution .

        The United States Supreme Court has consistently emphasized the uniqueness of death as

a criminal punishment . Death is "an unusually severe punishment, unusual in its pain, in its

finality, and in its enormity ." Furman, 408 U.S. at 287 (Brennan, J ., concurring). It differs from

lesser sentences "not in degree but in kind . It is unique in its total irrevocability." Id. at 306

(Stewart, J ., concurring) . The severity of the sentence "mandates careful scrutiny in the review

of any colorable claim of error ." Zant v. Ste hens, 462 U .S. 862, 885 (1983) . Thus, greater

caution and safeguards are required to ensure the constitutional validity of each death sentence :

"Death, in its finality, differs more from life imprisonment than a 100-year prison term differs

from one of only a year or two . Because of that qualitative difference, there is a corresponding

difference in the need for reliabili in the determination that death is the gppmpriate punishment

in a specific case ." Woodson V. North Carolina, 428 U .S . 280, 305 (1976) (emphasis added) ; see

Gardner v . Florida, 430 U.S . 349, 357-58 (1977) ("[D]eath is a different kind of punishment from

any other which may be imposed in this country . . . . It is of vital importance to the defendant

and to the community that any decision to impose the death sentence be, and appear to be, based

on reason rather than caprice or emotion .") . These heightened procedural protections have been

applied to both the sentencing and guilt-innocence phases of a capital defendant's trial . See, e .g.,




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Beck v. Alabama , 447 U.S. 625 , 638 (1980 ) (recognizing the unconstitutionality of procedures

that "diminish the reliability" of either guilt-innocence or sentencing phase determinations) .

        As detailed in this Petition , numerous and varied violations of law occurred at both stages

of Mr. Raulerson 's tri al. These violations , which occurred throughout trial, should not be

considered in serene isolation. Rather, due process demands that Petitioner ' s claims be

considered in the aggregate , and places the burden on the State to show that the cumulative

impact of these errors had no effect on Petitioner 's convictions or sentence of death. When these

separate infractions are viewed in their totality, it is clear that Petitioner did not receive the

fundament ally fair trial to which he was entitled under the Fifth , Sixth, Eighth and Fourteenth

Amendments to the United States Constitution . Rather, the cumulative effect of these errors -

including trial counsel 's failure to investigate and present an adequate defense and mitigation

case ; Georgia's failure to provide a constitutionally adequate procedure to assess Mr . Raulerson's

mental retardation ; the trial court 's numerous errors, including its erroneous penalty phase jury

instructions ; and the State 's misconduct - was to virtually dictate Mr . Raulerson' s death

sentence. Relief is mandated on Petitioner 's individual claims, and certainly based upon their

effect in the aggregate .20




20 To the extent defense counsel failed to litigate this issue effectively at trial or on appeal,
counsel performed ineffectively and Petitioner was actually prejudiced thereby .
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                                           PRAYER FOR RELIE F

        WHEREFORE, Petitioner respectfully requests that this Court :

         1 . Review the claims alleged in this Petition on the merits;

        2 . Issue a Writ of Habeas Corpus to have Petitioner brought before it to the end that

he may be discharged from his unconstitutional confinement and restraint, and/or be relieved of

his unconstitutional sentence of death ;

        3 . Permit Petitioner, who is indigent, to proceed in forma pauneris ;

        4 . Conduct a hearing at which proof may be offered concerning the allegations of

this petition;

        5 . Grant Petitioner, who is indigent, sufficient funds to secure the expert testimony

necessary to prove the facts as alleged in this petition ;

        6 . Allow discovery, pursuant to Rule 6, Rules Governing Section 2254 Cases In the

United States District Court ;

        7. Grant Petitioner the authority to obtain subpoenas in forma pauperis for witnesses

and documents necessary to prove the facts as alleged in this petition ;

        8 . Allow Petitioner to amend his petition after the assistance of experts and

discovery;

        9 . Allow Petitioner to brief the precedential and statutory law relevant to his case in

light of the record and the allegations raised by this petition ;

        10 . Allow Petitioner to respond to any procedural or affirmative defenses, and to any

other arguments that the Respondent might raise in this action ; and

        11 . Grant such other relief as maybe appropriate .


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This \ L     day of July, 2005 .


                                       Respectfully submitted ,

                                       BILLY DANIEL RAULERSON, JR.




                                    By :-
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                                       Local Counsel

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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGI A
                                    Savannah Divisio n


                                                 }
BILLY DANIEL RAULERSON,
     UNO-462992,
                                                                         Habeas Corpus
                 Petitioner,
                                                                         Case No.
                 V.

                                                }
WILLIAM M . TERRY, Warden
Georgia Diagnostic Pri son }
                            }
                 Respondent .




                                                     VERIFICATION

State of Georgia

County of Butt s


         Before me, the undersigned authority, personally appeared Billy Daniel Raulerson, who, being
first duly sworn, says that he has personal knowledge of the allegations in the foregoing Petition for Writ
of Habeas Corpus, and that the allegations and statements contained therein are true and correct to the
best of his knowledge .




Sworn to and subscri bed before me
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGI A
                               WAYCROSS DIVISION




BILLY DANIEL RAULERSON, JR ., )

                      Petitioner,            )

               v.    )     Case                   No .

WILLIAM M. TERRY, Warden, )
Georgia Diagnostic Prison, )

                      Respondent.            )




                                CERTIFICATE OF SERVICE

       I hereby certify that on July?, 2005, I caused a copy of the foregoing pleading to be

served upon Respondent by first-class United States mail addressed as follows :

                                     Karen Anderson
                                     Assistant Attorney General
                                     40 Capitol Square
                                     Atlanta, Georgia 3034 4




                                                      Steven L . Beauvais
                                                      Attorney for Petitioner




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